Filed 8/27/24 Hiramanek v. Estate of Hiramanek CA6
                      NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.




              IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                      SIXTH APPELLATE DISTRICT


ADIL HIRAMANEK,                                                     H049880
                                                                    (Santa Clara County
         Plaintiff and Appellant,                                   Super. Ct. No. 2PR189430)

                 v.

ESTATE OF RODA HIRAMANEK,

         Defendant and Respondent.



         This appeal is from the appointment of an administrator for the estate of Roda
Hiramanek, who passed away on January 16, 2020. Ms. Hiramanek’s son, Adil
Hiramanek (Hiramanek), appeals, challenging the administrator’s appointment on more
than a dozen grounds. As explained below, we reject each of these grounds and affirm.
                                               I. BACKGROUND
    A. The Dresser Claim
         In February 2014, William Dresser, Roda Hiramanek’s former counsel, obtained a
judgment against her for $177,838.66. By November 2021, more than $120,000 in
interest had accrued, bringing Dresser’s claim to just under $300,000.
    B. The Initial Petition
         On January 13, 2021, slightly less than a year after Roda Hiramanek passed away,
Debra Lumley filed a petition for authorization to administer Ms. Hiramanek’s estate.
Lumley was represented by Dresser, who appears to be her employer. The petition
alleged that Ms. Hiramanek resided in San Jose at the time of her death, that she died
intestate, and that she had a son (appellant Hiramanek). The petition also asserted that
Lumley was a California resident and entitled to letters of administration but did not
assert entitlement to priority in appointment.
       Notice of the petition and the hearing on it was mailed to Hiramanek on the same
day that the petition was filed. On March 18, 2021, Hiramanek filed an opposition. He
asserted a variety of objections: He was not served; Lumley lacked standing; his mother
left a will appointing him as her executor; the Court of Appeal, Third Appellate District
(Third District) recognized him as his mother’s personal representative; he was entitled to
priority over Lumley; his mother’s estate was subject to summary disposition; and
Dresser and Lumley were unfit to act as administrators because of Dresser’s adversity to
the deceased and disciplinary action against him by the State Bar many years earlier.
Hiramanek did not file an accompanying petition for administration of his mother’s estate
or for appointment as her personal representative.
       On April 1, 2021, the probate court held a hearing on Lumley’s petition. The
court informed Lumley, who was represented at the hearing by Dresser, that there were
procedural deficiencies in her petition. The court also asked Hiramanek whether he
intended to file a petition for appointment as personal representative. In response,
Hiramanek questioned whether he was required to file a petition and requested the
maximum possible continuance. The probate court continued the hearing until
July 1, 2021.
       In June 2021, Hiramanek filed additional objections. In addition to repeating
several previously asserted objections, Hiramanek asserted for the first time that his
mother had executed a trust which appointed him as executor, trustee, and personal
representative. Two weeks later, Hiramanek filed an application to seal confidential
documents and simultaneously lodged what he claimed to be his mother’s revocable



                                             2
living trust. The record does not show that the probate court ruled on the application or
that the lodged documents were filed.
   C. The Amended Petition
       After a hearing was held on July 1, 2021, Lumley filed an amended petition. In
addition to repeating the initial petition’s allegations concerning Roda Hiramanek’s
death, residence, and intestacy, the amended petition explained its objective: “to have an
administrator appointed who can receive a claim for damages against the Estate,”
including in particular Dresser’s claim based on his 2014 judgment (which. the
attachment noted, the Third District recently had upheld). The amended petition was
mailed to Hiramanek, and notice of the petition and the hearing concerning it was
published in a local newspaper of general circulation.
       Lumley subsequently filed a supplement to the amended petition and a
supplemental declaration. In these documents, Lumley asserted that she was not a
surviving business partner of the deceased and, indeed, had no relationship to the
deceased, was an adult, was not subject to conservatorship, and was a resident of the
United States. Lumley also asserted that she possessed “good organizational skills” and
was “able to keep track of details.” Finally, Lumley observed that no competing petition
had been filed.
       On October 4, 2021, Hiramanek filed additional objections. In addition to
repeating previous objections, Hiramanek attacked Dresser and Lumley, asserting, among
other things, that Dresser’s claim against his mother’s estate was untimely and that
Dresser and Lumley had conflicts of interest. Hiramanek again submitted an application
to file documents under seal and simultaneously lodged with the court a number of
documents, including a purported will and a purported trust. It does not appear that the
probate court ruled on this application or that the lodged documents were filed.




                                             3
       D.     The Appointment
       On October 7, 2021, the probate court held a hearing on Lumley’s amended
petition. Dresser appeared on behalf of Lumley, but Hiramanek was not present when the
case was called. The trial court granted the amended petition, subject to submission of a
proposed order. After the hearing concluded, an anonymous caller—presumably,
Hiramanek—appeared in the court’s virtual waiting room, but Dresser was no longer in
the courtroom and the court declined to recall the case.
       On November 1, 2021, another hearing was held, this time attended by Hiramanek
as well as Dresser. Hiramanek asserted that he had filed a petition for appointment as
personal representative, but the probate court found no petition in the e-filing queue. (A
petition was filed later that day.) The court found that Lumley’s amended petition was
properly served and was “complete and procedurally sound.” Accordingly, the court
granted the petition to appoint Lumley as administrator of the estate of Roda Hiramanek,
but with limited authority, rather than the full authority requested by Lumley. In
addition, as reflected in the minute order, the court indicated that “[i]n the event a
counter-petition is submitted, the court will give full consideration to the counter-
petition.”
       On November 17, 2021, the probate court issued a formal order granting the
amended petition. In the order, the court found that on January 16, 2020, Roda
Hiramanek had died intestate while a resident of San Jose and Santa Clara County. In
addition, the order appointed Lumley as administrator but—contrary to Lumley’s request
for full authority—with limited authority, explaining that Lumley had “no authority,
without court supervision, to (1) sell or exchange real property or (2) grant an option to
purchase real property or (3) borrow money with [a] loan secured by an encumbrance on
real property.” No bond was required, but Lumley was obliged to advise the court upon
identification of any assets of the estate and to notify the Court to request that a bond be
set.

                                              4
       On December 9, 2021, after Dresser had filed a creditor’s claim against decedent’s
estate, the clerk of the court issued letters of administration to Lumley.
       On December 6, 2021, three days before the letters of administration issued,
Hiramanek filed a timely notice of appeal from the probate court’s November 1, 2021
minute order and its November 17, 2021 formal order granting Lumley’s amended
petition. (See Prob. Code, § 1303, subd. (a) [making orders granting letters of
administration immediately appealable].)
                                       II. DISCUSSION
       Hiramanek challenges the appointment of Lumley on multiple grounds, which are
addressed below. However, before doing so, we first consider several issues relating to
the record.
   A. The Record
       1. The Settled Statement
       Hiramanek elected to proceed on this appeal by settled statement. After doing so,
Hiramanek filed with the probate court a proposed statement containing “hearing
narratives”—purportedly verbatim transcriptions—of several hearings. Although the
probate court issued an order on Hiramanek’s requested settled statement, it declined to
certify the accuracy of Hiramanek’s hearing narratives. The probate court stated that it
could not do so because the court had no reporter for the hearings in question, and neither
party had requested appointment of an official reporter pro tempore. Nonetheless, the
court stated that the hearing narratives “appear to capture the essence of the orders
made.” Accordingly, we consider the hearing narratives only to the extent that they
describe the probate court’s orders.
       In considering Hiramanek’s hearing narratives, we do not condone his apparent
violation of rule 1.150 of the California Rules of Court, which generally bars recording of
court proceedings. Rule 1.150(c) of the California Rules of Court provides: “Except as
provided in this rule, court proceedings may not be photographed, recorded, or

                                              5
broadcast.” Further, rule 1.150(d) states: “A person proposing to use a recording device
must obtain advance permission from the judge. The recordings must not be used for any
purpose other than as personal notes.”
       2. The Estate’s Request for Judicial Notice
       Acting as the personal representative of the estate, Lumley has requested that
judicial notice be taken of eight documents. One of these documents is the unpublished
opinion from the Third District affirming the 2014 judgment that Dresser seeks to
enforce. (Dresser v. Hiramanek (Jul. 9, 2021, C082948) [nonpub. opn.] (Dresser).)
With the exception of an order in the Third District appeal, the remaining documents
concern the litigiousness and alleged improper conduct of Hiramanek and his mother.
Because the Third District opinion helps to explain the factual background of this case,
we grant the request to take judicial notice of the opinion. (See K.G. v. Meredith (2012)
204 Cal.App.4th 164, 172, fn. 9.) However, we otherwise deny the request to take
judicial notice because the remaining documents are not relevant to the disposition of this
appeal. (See Jordache v. Brobeck, Phleger &amp; Harrison (1998) 18 Cal.4th 739, 748, fn. 6
(Jordache) [declining to take judicial notice of materials that are not “necessary, helpful,
or relevant”].)
       3. Hiramanek’s Request for Judicial Notice
       Hiramanek requests that judicial notice be taken of 64 documents, totaling more
than 550 pages. Three of these documents—a declaration, a probate order, and a
complaint Hiramanek’s mother filed against Dresser—are already in the clerk’s
transcript, and therefore we deny the request to take judicial notice of them as
unnecessary. (See, e.g., Adams v. Bank of America, N.A. (2020) 51 Cal.App.5th 666,
673-674, fn. 4.) The remaining documents largely concern unrelated cases and
disciplinary proceedings. As they are not relevant to our disposition of this appeal, we
deny the request with respect to these documents as well. (See Jordache, supra, 18
Cal.4th 739, 748, fn. 6.)

                                              6
   B. The Probate Court’s Findings
       Turning to the appointment of Lumley as administrator of Roda Hiramanek’s
estate, we review the trial court’s order for substantial evidence. (See, e.g., In re
Winder’s Estate (1950) 98 Cal.App.2d 78, 90; see also Jameson v. Desta (2018) 5 Cal.5th
594, 608-609 [noting that trial court rulings are presumed correct on appeal and that the
appellant bears the burden of rebutting the presumption].) We conclude that the probate
court made the findings required by the Probate Code and that these findings were
supported by substantial evidence.
       1. Probate Proceedings
       “In probate proceedings, the court appoints a personal representative to administer
the decedent’s estate,” who is called an “administrator” where the decedent dies intestate
or the decedent’s will does not name an executor. (Estate of Wardani (2022) 82
Cal.App.5th 870, 880.) An administrator does not gain authority to administer an estate
until a probate court has appointed the administrator and issued letters of administration
to him or her. (Probate Code, § 8400, subd. (a); but see § 13000-13211 [providing for the
collection and transfer of property in smaller estates outside of probate administration].)
(Subsequent undesignated statutory references are to the Probate Code.) In the
appointment of administrators, relatives of the decedent have priority (§ 8461, subds, (a)-
(n)), but conservators, public administrators, and, indeed, “[a]ny other person” may be
appointed as administrators if no competent person with higher priority seeks
appointment. (§ 8461, subds. (o)-(r); see also § 8402, subd. (a) [listing circumstances in
which a person is not competent].)
       The administration of an estate may be initiated by filing a petition to appoint a
personal representative or to probate a will. (§ 8000, subd. (a).) Such petitions must
provide the date and place of the decedent’s death; the decedent’s address at the time of
death; the name, age, address, and relation of each heir or devisee as known or reasonably
ascertainable; the character and estimated value of the property in the estate; and the

                                              7
name of the person for whom appointment is requested. (§ 8002, subd. (a).) The
appointment of an administrator may be contested. (§ 8004, subd. (a).) However, if a
contestant asserts that a different person should be appointed, the contestant must “file a
petition and serve notice in the manner” provided by the Probate Code, and the probate
court “shall hear the two petitions together.” (Ibid.)
       At the hearing on a petition for appointment of an administrator, the probate court
is required to find that specified “jurisdictional facts” have been established concerning
the decedent’s death, the decedent’s domicile, and publication of notice. (§ 8005,
subd. (b)(1) [listing jurisdictional facts]; see also § 8005, subds. (b)(2), (3) [also requiring
probate court to determine whether existence of a will has been shown and that notice of
the hearing was properly served].) If these jurisdictional facts are established, the probate
court must issue an order determining the time and place of the decedent’s death and the
court’s jurisdiction. (§ 8006, subd. (a).)
       If probate has not been opened, a creditor may initiate administration of an estate
to prevent its claims against the estate from becoming time-barred. (See, e.g., Dawes v.
Rich (1997) 60 Cal.App.4th 24, 36, fn. 6 [“a creditor may file a petition to probate a
debtor’s estate and a creditor’s claim against the estate”]; see also Estate of Holdaway
(2019) 40 Cal.App.5th 1049, 1053-1054 [noting that the opening of probate proceedings
tolls the statute of limitations on claims against a decedent].)
       2. Completeness
       The probate court found that Lumley’s petition was “complete.” This finding was
amply supported. The Probate Code requires that a petition to appoint an administrator
contain the following information: “(1) The date and place of the decedent’s death.
[¶] (2) The street number, street, and city, or other address, and the county, of the
decedent’s residence at the time of death. [¶] (3) The name, age, address, and relation to
the decedent of each heir and devisee of the decedent, so far as known to or reasonably
ascertainable by the petitioner. [¶] (4) The character and estimated value of the estate.

                                               8
[¶] (5) The name of the person for whom appointment as personal representative is
petitioned.” (§ 8002, subd. (a)(1).) The petitions submitted by Lumley contained the
date and place of Roda Hiramanek’s death; the address of her residence at the time of
death; the name, age, address, and relationship of Hiramanek to his mother; and the name
of the person to be appointed (Lumley). In addition, the petitions stated that the character
and estimated value of the estate were unknown to the petitioner, which Hiramanek has
not challenged.
       3.     Jurisdiction
       The probate court also found that Lumley’s petition was “procedurally sound,”
which we understand to mean that the petition established the court’s jurisdiction to
administer the estate of Roda Hiramanek. In particular, the Probate Code requires that
three jurisdictional facts be established: “(A) The date and place of the decedent’s death.
[¶] (B) That the decedent was domiciled in this state or left property in this state at the
time of death. [¶] (C) The publication of notice under Article 3 (commencing with
Section 8120) of Chapter 2” of the Probate Code. (§ 8005, subd. (b)(1)].) The evidence
presented by Lumley satisfied each of these requirements.
       Lumley’s amended petition, which she asserted was true and correct under penalty
of perjury, established the first two requirements. First, the amended petition stated that
Roda Hiramanek died on January 16, 2020 at the San Jose Regional Medical Center.
Second, the amended provided the address in San Jose where Ms. Hiramanek resided at
the time of her death.
       In addition, Lumley presented evidence establishing the third jurisdictional fact,
publication of notice. The Probate Code requires both service and publication of notice
of hearing on a petition to administer an estate. (§ 8120 [requiring that notice of hearing
be served “as provided in Article 2 (commencing with Section 8110)” and published “in
the manner provided in this article”].) Lumley presented evidence that on
September 20, 2021, Hiramanek was served by mail with notice of the amended petition

                                              9
to administer his mother’s estate and of the October 7, 2021 hearing on that petition,
which satisfies the requirement of providing notice at least 15 days before the hearing.
(§ 8110.) In addition, Lumley presented evidence that notice of the amended petition and
its hearing date were published in the San Jose Post-Record, a newspaper of general
circulation, on September 22, 23, and 29, 2021. This publication satisfies the
requirements that notice of hearing on a petition for administration of a decedent’s estate
be published in a newspaper of general circulation (see § 8121, subd. (b)), and that the
notice be published at least three times, with the first publication at least 15 days before
the hearing and at least five days between the first and last publication dates (see id.,
subd. (a)).
       Although Hiramanek notes in passing that a probate court may not acquire
jurisdiction to appoint an administrator unless the notice required by statute is given, he
does not argue that Lumley failed to present evidence sufficient to establish that such
notice was given. Instead, Hiramanek asserts that the trial court lacked jurisdiction over
his mother’s estate because Lumley failed to show that her estate falls outside the Probate
Code’s provisions for summary disposition of small estates. (See §§ 13000-13211.) In
particular, Hiramanek faults Lumley for not showing that his mother’s estate exceeds
$166,250, which Hiramanek asserts is the threshold for applying the summary disposition
rules. (In fact, the threshold is $166,250 “as adjusted periodically in accordance with
Section 890.” (§ 13100.)) However, contrary to Hiramanek’s assumption, section 13100
does not prohibit formal administration of an estate absent proof that the size of the estate
falls below its threshold (and Hiramanek has failed to present any competent evidence
that in fact it does). To the contrary, the Probate Code’s summary disposition rules
merely provide a procedure for the summary collection and transfer of personal property
by affidavit or declaration. (§§ 13101-13107.5.) Hiramanek presents no authority
suggesting that applicability of this procedure precludes a petition to administer. Nor can
he. Far from precluding formal administration of small estates, the Probate Code states

                                              10
that, absent consent in writing from the decedent’s personal representative, the summary
disposition procedure may not be used if a “proceeding for the administration of the
decedent’s estate is pending.” (§ 13108, subd. (a)(1); see also id., subd. (a) [“The
procedure provided by this chapter may be used only if one of the following requirements
is satisfied: [¶] (1) No proceeding for the administration of the decedent’s estate is
pending or has been conducted in this state. [¶] (2) The decedent’s personal
representative consents in writing to the payment, transfer, or delivery of the property
described in the affidavit or declaration pursuant to this chapter.”].)
       4. Competence
       In granting Lumley’s petition, the trial court also implicitly found Lumley
competent to serve as a personal representative and to administer the estate of Roda
Hiramanek. This finding is supported by substantial evidence.
       Under the Probate Code, a person is not competent to serve as a personal
representative in five circumstances: “(1) The person is under the age of majority.
[¶] (2) The person is subject to a conservatorship of the estate or is otherwise incapable of
executing, or is otherwise unfit to execute, the duties of the office. [¶] (3) There are
grounds for removal of the person from office under section 8502. [¶] (4) The person is
not a resident of the United States. [¶] (5) The person is a surviving business partner of
the decedent and an interested party objects to the appointment.” (§ 8402, subd. (a).)
       In an attachment to the amended petition, Lumley submitted evidence showing
that four of the five circumstances do not apply. Lumley showed that she is not a minor,
is not subject to a conservatorship or otherwise unable to perform the duties of a personal
representative, is a resident of the United States, and is not a former partner of Roda
Hiramanek. In addition, Lumley represented that she has “good organizational skills and
is able to keep track of details,” which rebuts one of the grounds for removal under
section 8502, which is incorporated into section 8402. (See § 8502, subd. (b) [“The
personal representative is incapable of properly executing the duties of the office or is

                                              11
otherwise not qualified for appointment as personal representative.”]; see also § 8402,
subd. (a)(3) [providing that a person is not competent to act as a personal administrator if
“[t]here are grounds for removal of the person from office under Section 8502”].)
       Hiramanek asserts another ground for removal under section 8502: that Dresser—
not Lumley—“committed a fraud on the estate, or is about to do so.” (§ 8502, subd. (a);
see also § 8402, subd. (a)(3) [incorporating § 8502].) In particular, Hiramanek contends
that Dresser is “alleging a claim of contingent attorney fees against decedent, for no work
performed . . . and where the contingency never occurred.” However, by affirming the
judgment against Roda Hiramanek in the principal sum of $177,838.66 in Dresser, the
Third District upheld the claim that Dresser seeks to enforce against her estate, and we
have no reason or authority to question that determination. In addition, there is nothing
improper about attempting to have an estate pay an established debt, which is what
Lumley has said she intends to do. To the contrary, the Probate Code expressly
recognizes that “[c]reditors” may be appointed to administer an estate. (§ 8461,
subd. (q).) And the probate court protected Hiramanek by granting Lumley only limited
authority, which prohibits her from selling, exchanging, granting options to purchase,
encumbering, or purchasing real property on behalf of the estate. For the same reasons,
we reject Hiramanek’s objection that Lumley has a conflict of interest because she is
acting on behalf of Dresser and Dresser is seeking to recover the judgment for attorney’s
fees, which, as previously noted, the Third District has affirmed.1

       1
         Hiramanek also accuses Dresser and Lumley of perjury and acting with unclean
hands because the petitions filed by Lumley indicated that Hiramanek’s mother left no
will.) However, as we observe below, Hiramanek failed to file the will that he claims
that his mother executed until after the rehearing on the Lumley petition, even though it
was held more than nine months after the petition was filed. Nor was the will
authenticated or even considered by the probate court. Even more important, other than
citing his own unsubstantiated claims concerning the existence of the will, Hiramanek
has cited no evidence that Dresser or Lumley was aware of the will. In addition, we
reject Hiramanek’s argument, which he fails to support with any legal argument, that the
probate court erred in appointing Lumley as administrator because of a 2009 disciplinary

                                             12
       5. Service
       In addition to finding Lumley’s amended petition complete and procedurally
sound, the trial court also found that service of the amended petition was valid. While
Hiramanek denies that he was served, the trial court’s finding that he was validly served
is supported by substantial evidence. In particular, proofs of service showed that the
petition and the amended petition were mailed to him at the same address listed on his
filings in the trial court. While Hiramanek questions the validity of these proofs of
service because they were filled out by Lumley, the trial court disagreed, and as an
appellate court, our review “begins and ends with the determination as to whether, on the
entire record, there is substantial evidence, contradicted or uncontradicted, which will
support the trial court’s factual determination. [Citations].” (Ermoian v. Desert Hospital
(2007) 152 Cal.App.4th 475, 501.) We therefore uphold the probate court’s finding that
Hiramanek was validly served.2




proceeding against Dresser. (See, e.g., People v. Stanley (1995) 10 Cal.4th 764, 793
(Stanley) [“ ‘[E]very brief should contain a legal argument with citation of authorities on
the points made. If none is furnished on a particular point, the court may treat it as
waived, and pass it without consideration. [Citations.]’ [Citations.]”].)

       2
         Because the trial court certified only that Hiramanek’s Hearing Narratives
captured the essence of the court’s orders, we do not consider Hiramanek’s assertion that
he objected to the lack of service during the April 1, 2021 and August 25, 2021 hearings.
We also decline to consider Hiramanek’s assertion that the petition for administration
was not served on his mother’s offshore children and heirs, because this assertion was not
raised until Hiramanek’s reply brief and is unsupported by any evidence that offshore
children and heirs exist. (See, e.g., Habitat &amp; Watershed Caretakers v. City of Santa
Cruz (2013) 213 Cal.App.4th 1277, 1292, fn. 6 [“Arguments presented for the first time
in an appellant’s reply brief are considered waived.”].) Finally, as the probate court made
express findings in support of its order appointing Lumley as administrator, and those
findings were supported by substantial evidence, we reject Hiramanek’s assertion that the
trial court granted Lumley’s petition because it was unopposed.


                                            13
   C. Hiramanek’s Objections
       Hiramanek raises a number of objections to Lumley’s appointment in addition to
those discussed above. We do not find any of them persuasive.
       1. The Trust
       Hiramanek’s first argument is that Lumley’s petition to administer Roda
Hiramanek’s estate should have been dismissed or at least placed in abeyance because
her estate’s assets had been placed into a trust, the existence of which Hiramanek asserted
before the petition was granted. In fact, the document Hiramanek claims to be the trust
was never filed in the trial court. Hiramanek lodged the purported trust document in
connection with two applications to seal records. But there is no order in the record
granting either application, and therefore the record shows that the purported trust
document was never filed or served upon Lumley. Moreover, Hiramanek has failed to
cite any authority that required the probate court to consider the claimed trust before
addressing Lumley’s petition. (See Stanley, supra, 1 Cal.4th at p. 793 [requiring citation
of legal authority on points asserted].) As a consequence, we conclude that the probate
court did not err or abuse its discretion by considering Lumley’s petition before
addressing the existence of the claimed trust.3
       2.     Standing
       Hiramanek also contends that Lumley is not an “interested person” under the
Probate Code and therefore lacked standing. In particular, Hiramanek argues that
Lumley lacked standing to “file a petition to administer” and that “[i]ssuing letters of
administration to . . . an uninterested party . . . is unauthorized.” In support of this
argument, Hiramanek cites cases on standing to contest wills (Estate of Sobol (2014) 225
       3
        We also reject Hiramanek’s contention that any claim by Dresser against the trust
is untimely based upon the prior notice the trustee allegedly gave creditors; there is no
evidence that the trustee of the purported trust gave creditors notice of the need to file
claims. (See § 19100, subd. (a) [providing that creditors may file claims within sixty
days after notice is served on them or four months after publication of notice].)


                                              14
Cal.App.4th 771, 781), to bring elder abuse claims as the beneficiary of a trust (Likter v.
Likter (2010) 189 Cal.App.4th 712, 728), and to challenge or enforce the terms of a trust
(Barefoot v. Jennings (2020) 8 Cal.5th 822, 826-828; Patton v. Sherwood (2007) 152
Cal.App.4th 339, 344-345; Hardman v. Feinstein (1987) 195 Cal.App.3d 157, 161-162)),
as well as cases concerning priority of appointment (Estate of Cook (1916) 173 Cal. 465,
471-472; Estate of Walker (1915) 169 Cal. 400, 401; Estate of Jacobs (1950) 100
Cal.App.2d 452, 453). We are not persuaded.4
       Notably absent from Hiramanek’s briefing on appeal is any mention of
section 8461, the statute governing appointment of estate administrators. Far from
supporting Hiramanek’s standing argument, section 8461 makes it clear that an
administrator need not be an interested person. The statute lists, in order of priority, the
types of persons “entitled to appointment as administrator.” (§ 8461.) Although
section 8461 begins with various relatives of the decedent and includes creditors, it ends
with “[a]ny other person.” (§ 8461, subd. (r).) As “[a]ny . . . person” may serve as an
administrator, there is plainly no requirement that estate administrators be interested
persons.5




       4
         In claiming that Lumley lacks standing, Hiramanek also relies on section 1043.
But that statute concerns one who “appear[s] and make[s] a response or objection in
writing at or before the hearing” (id., subd. (a)) or one who “appear[s] and make[s] a
response or objection orally at the hearing” (id., subd. (b)). Here, Lumley was the
petitioning party.
       5
         In the trial court, Hiramanek cited section 8000 in arguing that Lumley lacked
standing to be an administrator. We do not consider this section because Hiramanek has
not cited it in his appellate briefing and therefore has abandoned any argument
concerning it. (See, e.g., Tiernan v. Trustees of Cal. State University &amp; Colleges (1982)
33 Cal.3d 211, 216, fn. 4.) We also do not consider the unpublished decisions improperly
cited by Hiramanek. (See Cal. Rules of Court, rule 8.115; see also Applied Materials v.
Workers’ Comp. Appeals Bd. (2021) 64 Cal.App.5th 1042, 1094 [unpublished appellate
decisions “may not be cited or relied upon in any court”].)

                                             15
          3. The Third District Order
          Hiramanek also argues that Lumley is precluded from petitioning to administer his
mother’s estate by an order of the Third District in Dresser, supra, C082948, granting
Hiramanek’s application for substitution as the personal representative of his mother.
However, Lumley was not a party to the Third District proceeding, and Hiramanek fails
to explain how preclusion rules can be applied to such a third party. (See Dabney v.
Dabney (2002) 104 Cal.App.4th 379, 384 [appellate courts “need not consider an
argument for which no authority is furnished”].) Even more important, the Probate Code
grants the superior court, not appellate courts, jurisdiction over the administration of the
estate of a decedent, including authority in the first instance to appoint a personal
representative of a decedent’s estate. (See § 7050; see also §§ 8006, subd. (a), 8469.) As
a consequence, while the Third District certainly had the authority to issue an order
permitting Hiramanek to substitute as his mother’s personal representative for purposes
of the Dresser appeal, that order did not prevent the probate court from appointing
Lumley as Roda Hiramanek’s personal representative for purposes of administering her
estate.
          4. The Will
          Hiramanek argues that he should have been appointed as the personal
representative of his mother’s estate because he was named the executor of her will. As
Hiramanek observes, the Probate Code gives the executor named “in the decedent’s
will . . . the right to appointment as [the decedent’s] personal representative.” (§ 8420.)
However, just as Hiramanek failed to file or serve the purported trust document, he failed
to file or serve the purported will. Hiramanek lodged what he claimed to be his mother’s
will with his October 4, 2021 application to file records under seal, but the record does
not show any order granting the application. Therefore, we conclude that the purported
will was never filed.



                                              16
       There are other problems as well with Hiramanek’s reliance on the purported will.
First, as of the time of the final hearing on the Lumley amended petition, Hiramanek had
not filed a petition to probate his mother’s purported will, which means that its legality
was never even considered, let alone established. (See, e.g., Pearce v. Briggs (2021) 68
Cal.App.5th 466, 475 [“the will was never probated and its legality was therefore never
established”]; In re Olson’s Estate (1962) 200 Cal.App.2d 234, 237 [“A probate court has
no power to consider the legality of a will until it is properly brought before it by a
petition for its probate. [Citation].”].) Second, Hiramanek failed to file a timely petition
for administration of his mother’s estate. The Probate Code generally requires executors
to petition for administration within 30 days after the decedent’s death, and if a person
fails to do so without good cause—and Hiramanek has not asserted such an excuse—“the
person may be held to have waived the right of appointment as personal representative.”
(§ 8001.) Third, Hiramanek did not properly assert that he, rather than Lumley, should
have been appointed as personal representative. Under the Probate Code, if a party
contests the appointment of a personal representative and contends another person should
be appointed, “the contestant shall also file a petition and serve notice in the manner
provided in Article 2 (commencing with Section 8110) of Chapter 2, and the court shall
hear the two petitions together.” (§ 8004, subd. (a).) Hiramanek did not file a petition
for appointment as a personal representative until after the trial court granted Lumley’s
petition.
       5. Priority
       Hiramanek also argues that, as the deceased’s son, he had priority over Lumley
and should have been appointed her personal representative. The defect in this argument
already has been pointed out: If Hiramanek had wanted to be considered for appointment
as his mother’s personal representative instead of Lumley, in contesting Lumley’s
petition, he was required to have filed and served a petition for his appointment (§ 8004,
subd. (a)), which he failed to do.

                                              17
       6. Bias
       Finally, Hiramanek asserts that the probate court was biased against him. In
particular, Hiramanek complains that, while the court advised Dresser that his petition
was deficient and an amended petition should be filed, it refused to answer Hiramanek’s
questions about, among other things, what he needed to do to get the court to endorse his
appointment in the purported trust documents. These complaints do not show bias, and,
in any event, they are based on the hearing narratives submitted by Hiramanek, which the
trial court certified as accurate only with respect to the orders made. Accordingly, we
conclude that Hiramanek has failed to satisfy his burden of proving bias. (See Betz v.
Pankow (1993) 16 Cal.App.4th 919, 926 [“the burden of proof is on appellant as the party
claiming bias to establish facts supporting her position”].)
                                   III. DISPOSITION
       The November 17, 2021 order and the appointment of Debra Lumley as
administrator of the estate of Roda Hiramanek are affirmed. Respondent Estate of Roda
Hiramanek is entitled to reasonable costs on appeal. (Cal. Rules of Court,
rule 8.278(a)(1).)




                                             18
                               _____________________________________
                               BROMBERG, J.




WE CONCUR:




__________________________
GROVER, ACTING P.J.




__________________________
WILSON, J.




Hiramanek v. Estate of Hiramanek
H049880
